                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ARPAD MADARSZ,                                 :
                                               :
                     Plaintiff                 :          CIVIL ACTION
                                               :
              v.                               :
                                               :
LABORATORY CORPORATION                         :
OF AMERICA HOLDINGS, et al.,                   :          No. 24-1014
                                               :
                     Defendants                :

                                           ORDER

       AND NOW, this 3rd day of April, 2024, upon consideration of the Defendants’ Consent

Motion for Extension of Time (Doc. No. 6), it is hereby ORDERED that Defendants Laboratory

Corporation of America Holdings, Labcorp Early Development Laboratories, Inc., and Labcorp

Drug Development Inc. shall file a response to the complaint on or before May 6, 2024.




                                                   BY THE COURT:


                                                   s/ Gene E.K. Pratter
                                                   GENE E.K. PRATTER
                                                   UNITED STATES DISTRICT JUDGE
